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[Dntcosth] [NOTICE AND ORDER SCHEDULING PRELIMINARY HEARING ON MOTION FOR RELIEF FROM STAY]




                                         ORDERED.
Dated: September 24, 2024




                                  UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION
                                          www.flmb.uscourts.gov



In re:                                                                            Case No.
                                                                                  6:24−bk−03843−LVV
                                                                                  Chapter 7

Chaim Levilev




                    Debtor*                     /



                   NOTICE AND ORDER SCHEDULING PRELIMINARY HEARING ON
                               MOTION FOR RELIEF FROM STAY

             NOTICE IS GIVEN that the preliminary hearing on the motion for relief from the
         automatic stay imposed by 11 U.S.C. § 362(a) filed by Cortney Marie Hobgood (Document
         No. 22) (the "Motion") will be held on October 1, 2024 , at 11:00 AM in Courtroom 6C, 6th
         Floor, George C. Young Courthouse, 400 West Washington Street, Orlando, FL 32801.
         Accordingly, it is

            ORDERED:

         1. The automatic stay shall remain in effect until further order of the Court.

         2. The deadlines under 11 U.S.C. § 362(e)(1) and (2) are extended to the date of the
         preliminary hearing.

         3. The Court may continue the hearing upon announcement made in open court without
         further notice.

         4. If you oppose the relief sought in the Motion, you must appear at the hearing or your
         objections or defenses may be deemed waived.
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            5. All parties must attend the hearing in person. Remote appearances are only permitted in
            limited circumstances as set forth in Judge Vaughan's Hearing Guidelines available at
            https://www.flmb.uscourts.gov/judges/vaughan/.

            6. Avoid delays. A photo ID is required for entry into the Courthouse. Local Rule 5073−1
            restricts the entry of cellular telephones and, except in Orlando, computers into the
            Courthouse absent a specific order of authorization issued beforehand by the presiding judge,
            a valid Florida Bar identification card, or pro hac vice order.

Jason Burnett is directed to serve a copy of this order on interested parties who do not receive service by
CM/ECF and file a Proof of Service within 3 days of entry of the order.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two individuals.
